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MINUTE ENTRY
MORGAN, J.
April 5, 2018


                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF LOUISIANA

 VIVIAN PATZ,                                                      CIVIL ACTION
     Plaintiff

 VERSUS                                                            NO. 17-3465

 SUREWAY SUPERMARKET, ET AL.,                                      SECTION: “E” (1)
     Defendants


      A status conference was held on April 5, 2018 at 1:30 p.m. in the chambers of Judge

Susie Morgan.

      Present:       William Most, counsel for Plaintiff, Vivian Patz; Sean Dawson
                     and Kathleen Lambert, counsel for Defendants, Walter H.
                     Maples, Inc., Shelly Jambon, and SHH Properties, L.L.C.

      The parties discussed the status of the case. Plaintiffs have propounded a second

round of written discovery. Defendants represented they will provide responses to

Plaintiffs by April 14, 2018.

      On request of Plaintiffs’ counsel, and with no objection by defense counsel, the trial

date in this matter was continued to Monday, January 28, 2019.

      The parties will adhere to the pre-trial deadlines as follows.

 Plaintiff’s expert reports                     Delivered to defense         counsel    by
                                                September 7, 2018

 Defendant’s expert reports                     Delivered to plaintiff’s     counsel    by
                                                October 9, 2018




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Witness lists                                    Filed and served upon opponents by
                                                 October 9, 2018
Each witness must be identified by name
and address. The listing of a witness as a
representative of an entity is not
sufficient
See pretrial notice at p. 7

Exhibit lists                                    Filed and served upon opponents by
                                                 October 9, 2018
Each exhibit must be listed with
specificity and be Bates numbered.
Broad, general categories of exhibits are
not sufficient
See pretrial notice at pp. 5-6

Depositions and discovery                        Completed by October 23, 2018
Failure to comply with this order
may result in sanctions pursuant to
Rule 37

Non-evidentiary pretrial motions and             Filed and served no later than October
motions in limine regarding the                  30, 2018
admissibility of expert testimony
                                                 (in sufficient time to permit a submission
See Scheduling Order at p. 4                     date on or before November 14, 2018)
regarding the format of depositions

Responses/oppositions to non-                    Filed and served no later than November
evidentiary pretrial motions and motions         6, 2018
in limine regarding the admissibility of
expert testimony

Pretrial order                                   Filed by December 3, 2018 at 5:00
                                                 p.m.
Any exhibits to be used solely for
impeachment must be presented to
the Court for in camera review by
this deadline. See Section IX.10.b of
the pretrial notice




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Pretrial conference                                December 6, 2018 at 3:00 p.m.
Attended by lead attorney. (See
Local Rule 11.2)

Final list of witnesses who will be called         Filed no later than December 13, 2018
at trial                                           at 5:00 p.m.

Motions in limine (other than those                Filed no later than December 18, 2018
regarding the admissibility of expert              at 5:00 p.m.
testimony) and memoranda in support

Responses to motions in limine                     Filed by January 16, 2019 at 5:00 p.m.


Joint statement of the case                        Filed by January 18, 2019 at 5:00 p.m.
See pretrial notice at p. 8

Joint jury instruction (or if agreement            Filed and emailed to the Court by
cannot be reached, counsel shall provide           January 18, 2019 at 5:00 p.m.
alternate versions with respect to any
instruction in dispute, with its reasons for
putting forth an alternative instruction
and the law in support thereof
See pretrial notice at p. 8

Joint proposed jury verdict form (or if            Filed by January 18, 2019 at 5:00 p.m.
agreement cannot be reached, separate
proposed jury verdict forms and a joint
memorandum explaining the
disagreements between the parties as to
the verdict form)
See pretrial notice at p. 8

Proposed special voir dire questions               Filed by January 18, 2019 at 5:00 p.m.
See pretrial notice at p. 8




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Objections to exhibits and supporting              Filed by January 18, 2019 at 5:00 p.m.
memoranda
NOTE: Each objection must identify the
relevant objected-to exhibit by the
number assigned to the exhibit in the
joint bench book(s)
See pretrial notice at p. 5

Two copies of joint bench book(s) of               Delivered to the Court by January 18,
tabbed exhibits, with indices of                   2019 at 5:00 p.m.
"objected-to" and "unobjected-to"
exhibits, identifying which party will offer
each exhibit and which witness will
testify regarding the exhibit at trial
See pretrial notice at pp. 5-6

Trial memoranda                                    Filed by January 18, 2019 at 5:00 p.m.
See pretrial notice at pp. 8-9

Objections to deposition testimony and             Filed by January 18, 2019 at 5:00 p.m.
supporting memoranda
See pretrial notice at p. 6 with
particular attention to instructions
regarding the format of depositions

Responses to objections to exhibits                Filed by January 23, 2019 at 5:00 p.m.
See pretrial notice at p. 5

Responses to objections to deposition              Filed by January 23, 2019 at 5:00 p.m.
testimony
See pretrial notice at p. 6

If counsel intends to ask questions on             The factual elements of such questions
cross-examination of an economic expert            shall be submitted to the expert witness by
which require mathematical calculations            January 23, 2019 at 5:00 p.m.
See pretrial notice at p. 7



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List and brief description of any charts,         Provided to opposing counsel by January
graphs, models, schematic diagrams, and           23, 2019 at 5:00 p.m.
similar objects intended to be used in
opening statements or closing arguments
See pretrial notice at p. 7

Objections to any charts, graphs, models,         Filed by January 24, 2019 at 5:00
schematic diagrams, and similar objects           p.m.
intended to be used by opposing counsel
in opening statements or closing
arguments
See pretrial notice at p. 7

Jury trial                                        January 28, 2019 at 9:00 a.m.
Whenever a case is settled or otherwise           (estimated to last 4 days)
disposed of, counsel must immediately
inform the clerk's office, judge to whom
the case is allotted, and all persons
subpoenaed as witnesses. If a case is
settled as to fewer than all parties or all
claims, counsel must also identify the
remaining parties and unsettled claims.
See Local Rule 16.4



      New Orleans, Louisiana, this 5th day of April, 2018.


                                                  _____________________ _______
                                                          SUSIE MORGAN
                                                  UNITED STATES DISTRICT JUDGE




JS10 (0:19)



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